        Case 2:16-md-02724-CMR Document 859 Filed 02/15/19 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                      MDL No. 2724
PRICING ANTITRUST LITIGATION                        Case No. 2: 16-MD-02724

                                                    Hon. Cynthia M. Rufe               FILED
THIS DOCUMENT RELATES TO:
                                                                                       FEB 15 2019
ALL ACTIONS                                                                         KATE BARhi.1,\, ,, C,-"rk
                                                                                  By              Dep. Clerk


                                         ORDER

       AND NOW, this 15th day of February 2019, it is hereby ORDERED that the attached

Joint Stipulation is APPROVED and the deadline to respond to the Motion to Unseal Redacted

Information in the States' Consolidated Amended Complaint [MDL Doc. No. 842] 1s

EXTENDED until February 26, 2019.

       It is so ORDERED.

                                                 BY THE COURT:



                                                                                       ,Q.
       Case 2:16-md-02724-CMR Document 859 Filed 02/15/19 Page 2 of 4




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                           MDL No. 2724
PRICING ANTITRUST LITIGATION                             Case No. 2:16-MD-02724

                                                         Hon. Cynthia M. Rufe
THIS DOCUMENT RELATES TO:

ALL ACTIONS



     JOINT STIPULATION EXTENDING TIME TO RESPOND TO PLAINTIFFS'
       MOTION TO UNSEAL REDACTED INFORMATION IN THE STATES'
                 CONSOLIDATED AMENDED COMPLAINT


               WHEREAS, on February 1, 2019, the States, Direct Purchaser Plaintiffs, End-

Payer Plaintiffs, Indirect Reseller Plaintiffs, and Kroger Direct Action Plaintiffs filed a Motion to

Unseal Redacted Information in the States' Consolidated Amended Complaint (the "Motion to

Unseal"). (See MDL Doc. 842.)

       WHEREAS, on February 6, 2019, Plaintiff Humana, Inc. moved to join the Motion to

Unseal. (See MDL Doc. 845.)

       WHEREAS, pursuant to Local Rule 7.l(c), Defendants' response to the Motion to Unseal

is currently due February 15, 2019.

       WHEREAS, the parties have agreed to a short extension of time for Defendants to

respond to the Motion to Unseal to and including February 26, 2019.
       Case 2:16-md-02724-CMR Document 859 Filed 02/15/19 Page 3 of 4




       It is hereby STIPULATED AND AGREED, by the undersigned counsel, pursuant to

Local Rule 7.4, that Defendants shall have until February 26, 2019 to file any opposition to the

Motion to Unseal.


       IT IS SO STIPULATED.

Dated: February 14, 2019

Isl Roberta D. Liebenberg                            Isl Jan P. Levine
Roberta D. Liebenberg                                Jan P. Levine
FINE, KAPLAN AND BLACK, R.P.C.                       PEPPER HAMILTON LLP
One South Broad Street, 23rd Floor                   3000 Two Logan Square
Philadelphia, PA 19107                               Eighteenth & Arch Streets
215-567-6565                                         Philadelphia, PA 19103-2799
rliebenberg@finekaplan.com                           Tel: (215) 981-4000
                                                     Fax: (215) 981-4750
Liaison and Lead Counsel for End-Payer               levinej@pepperlaw.com
Plaintiffs
                                                     Isl Saul P. Morgenstern
Isl Dianne M Nast                                    Saul P. Morgenstern
Dianne M. Nast                                       ARNOLD & PORTER KA YE SCHOLER
NASTLAWLLC                                           LLP
1100 Market Street, Suite 2801                       250 W. 55th Street
Philadelphia, PA 19107                               New York, NY 10019
215-923-9300                                         Tel: (212) 836-8000
dnast@nastlaw.com                                    Fax: (212) 836-8689
                                                     saul.morgenstem@apks.com
Liaison and Lead Counsel for Direct
Purchaser Plaintiffs                                 Isl Laura S. Shores
                                                     Laura S. Shores
Isl Jonathan W. Cuneo                                ARNOLD & PORTER KA YE SCHOLER
Jonathan W. Cuneo                                    LLP
CUNEO GILBERT & LADUCA LLP                           601 Massachusetts A venue
4 725 Wisconsin A venue, NW                          Washington, DC 20001
Suite 200                                            Tel: (202) 942-5000
Washington, DC 20016                                 Fax: (202) 942-5999
202-789-3960                                         laura.shores@apks.com
jonc@cuneolaw.com
                                                     Isl Sheron Korpus
Lead Counsel for Indirect-Reseller                   Sheron Korpus
Plaintiffs                                           KASOWITZ BENSON TORRES LLP



                                               -2-
       Case 2:16-md-02724-CMR Document 859 Filed 02/15/19 Page 4 of 4




                                             1633 Broadway
Isl W. Joseph Nielsen                        New York, New York 10019
W. Joseph Nielsen                            Tel : (212) 506-1700
Assistant Attorney General                   Fax: (212) 506-1800
55 Elm Street                                skorpus@kasowitz.com
P.O. Box 120
Hartford, CT 06141-0120                      ls/ Chui Pak
Tel : (860)808-5040                          Chui Pak
Fax: (860)808-5033                           WILSON SONSINI GOODRICH &
Joseph.Nielsen@ct.gov                        ROSATI
                                             Professional Corporation
Liaison Counsel for Plaintiff States         1301 A venue of the Americas, 40th Fl.
                                             New York, NY 10019
Isl William J. Blechman                      Tel : (212) 999-5800
William J. Blechman, Esquire                 Fax: (212) 999-5899
KENNYNACHWALTER, P.A.                        cpak@wsgr.com
1441 Brickell A venue, Suite 1100
Miami, Florida 33131                         Defense Liaison Counsel
Tel:     (305) 373-1000
Fax: (305)372-1861
wblechman@knpa.com

Counsel for the Kroger Direct Action
Plaintiffs

By: Isl Peter D. St. Phillip
Peter D. St. Phillip, PA ID# 70027
44 South Broadway
Suite 1100
White Plains, New York 10601
Tel : 914-997-0500
PStPhillip@lowey.com

Counsel for Humana Inc.




                                       -3-
